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U.S. COURT OF APPEALS
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No. 04-1 1922-GG ‘

 

 

THOMAS K. KAHN

 

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GERARDO JIMENEZ-GONZALEZ, et al., ,,;::"' §
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PlaintiH`s-Appellants, §§ d N F
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versus §§ §X\ c
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:x)§ "'
SORRELLS BROTHERS PACKING § :d °"
COMPANY, INC.,

Defendant-Appellee.

 

Appeal from the United States District Court for the
Middle District of Florida

 

Before TJOFLAT, BARKETT and PRYOR, Circuit Judges.

BY THE CGURT:

This appeal is DISMISSED, sua sponte, for lack ofjurisdiction. The district court’s March
12, 2004, order denying the appellants’ motion for costs and attorney’s fees under Florida Statute

§ 448.08, and noting that costs under 28 U.S.C. § 1920 Will be addressed in a separate order is

neither final nor immediately appealable 28 U.S.C. § 1291; Mekdeci v. Merrell National

Laboratories, 711 F.Zd 1510, 1523 (llth Cir. 1983).

No motion for reconsideration may be filed unless it complies with the timing and other

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requirements of l lth Cir.R. 40-4 and all other applicable rules.

